             Case 3:21-cv-06536-EMC Document 599 Filed 08/31/23 Page 1 of 19



 1   JENNIFER KELLY (CSB No. 193416)
     jennifer@tyzlaw.com
 2   RYAN TYZ (CSB No. 234895)
     ryan@tyzlaw.com
 3   ERIN JONES (CSB No. 252947)
     ejones@tyzlaw.com
 4   DEBORAH HEDLEY (CSB No. 276826)
     deborah@tyzlaw.com
 5   CIARA MCHALE (CSB No. 293308)
     ciara@tyzlaw.com
 6   SEAN APPLE (CSB No. 305692)
     sapple@tyzlaw.com
 7   CHIEH TUNG (CSB No. 318963)
     chieh@tyzlaw.com
 8   TYZ LAW GROUP PC
     4 Embarcadero Center, 14th Floor
 9   San Francisco, CA 94111
     Telephone: 415.868.6900
10
     Attorneys for Plaintiffs
11   Moonbug Entertainment Limited and
     Treasure Studio, Inc.
12

13
                                 UNITED STATES DISTRICT COURT
14
                                NORTHERN DISTRICT OF CALIFORNIA
15
                                     SAN FRANCISCO DIVISION
16

17
     MOONBUG ENTERTAINMENT                      Case No: 3:21-cv-06536-EMC
18   LIMITED and TREASURE STUDIO, INC.,
                                                PLAINTIFFS’ RENEWED MOTION
19                 Plaintiffs,                  FOR SANCTIONS

20          v.                                  Date:           October 5, 2023
                                                Time:           1:30 pm
21   BABYBUS CO., LTD and BABYBUS               Judge:          Hon. Edward M. Chen
     (FUJIAN) NETWORK TECHNOLOGY                Courtroom:      5, 17th Floor
22   CO., LTD,
                                                Supp. FAC Filed:      May 9, 2023
23                 Defendants.
                                                Answer Filed:         May 23, 2023
24

25

26

27

28

     PLAINTIFFS’ RENEWED MOT.
     FOR SANCTIONS                                                 CASE NO. 3:21-cv-06536-EMC
             Case 3:21-cv-06536-EMC Document 599 Filed 08/31/23 Page 2 of 19



 1                                                TABLE OF CONTENTS

 2                                                                                                                                 Page

 3   I.     FACTUAL AND PROCEDURAL BACKGROUND...................................................... 3

 4          A.        The Pre-Litigation Letter ...................................................................................... 3

 5          B.        Defendants Create the “2016 BabyBus’ DouDou” Image in 2021....................... 3

 6          C.        The “2016 BabyBus’ DouDou” Image Did Not Exist in 2016............................. 4

 7          D.        Defendants Repeatedly Submit and Rely on the Fabricated “2016
                      BabyBus’ DouDou” Image ................................................................................... 4
 8
            E.        Defendants Forced Moonbug to Repeatedly Ask the Court to Intervene to
 9                    Get Discovery About DouDou.............................................................................. 7
10          F.        Defendants Resist the Court-Ordered Custodial Depositions, Further
                      Forcing Moonbug to Expend Time and Resources to Secure Them .................... 8
11
            G.        Moonbug’s Sanctions Motion and Motion in Limine No. 5 ................................. 8
12
            H.        Testimony and Evidence at Trial Confirms that Defendants Created “2016
13                    BabyBus’ DouDou” Image in 2021 ...................................................................... 9

14   II.    ARGUMENT .................................................................................................................. 11

15          A.        The Court Should Grant Terminating Sanctions ................................................ 11

16                    i.         Defendants Acted in Bad Faith in Altering the “2016 BabyBus’
                                 Doudou” Image in 2021 and Repeatedly Submitting It Under Oath
17                               with a False 2016 Date ............................................................................ 12

18          B.        The Court Should Also Grant Monetary Sanctions ............................................ 15

19   III.   CONCLUSION ............................................................................................................... 16

20

21

22

23

24

25

26

27

28

     PLAINTIFFS’ RENEWED MOT.
     FOR SANCTIONS                                            -i-                                   CASE NO. 3:21-cv-06536-EMC
                Case 3:21-cv-06536-EMC Document 599 Filed 08/31/23 Page 3 of 19



 1                                                TABLE OF AUTHORITIES

 2                                                                                                                            Page(s)

 3   CASES

 4   Am. Rena Int’l Corp. v. Sis-Joyce Int’l Co.,
           No. CV126972FMOJEMX,
 5         2015 WL 12732433 (C.D. Cal. Dec. 14, 2015) .............................................................. 14

 6   Anheuser–Busch, Inc. v. Natural Beverage Distribs.,
           69 F.3d 337 (9th Cir. 1995) ............................................................................................ 11
 7
     Combs v. Rockwell Int’l Corp.,
 8         927 F.2d 486 (9th Cir. 1991) .......................................................................................... 12

 9   Connecticut Gen. Life Ins. Co. v. New Images of Beverly Hills,
           482 F.3d 1091 (9th Cir. 2007) ........................................................................................ 12
10
     In re USA Com. Mortg. Co.,
11          462 F. App’x 677 (9th Cir. 2011) ................................................................................... 15
12   Keithley v. Homestore.com, Inc.,
            No. C-03-04447 SI EDL,
13          2009 WL 816429 (N.D. Cal. Mar. 27, 2009) .................................................................. 15
14   Lee v. Trees, Inc.,
             No. 3:15-CV-0165-AC,
15           2017 WL 5147146 (D. Or. Nov. 6, 2017) ....................................................................... 12
16   Leon v. IDX Sys. Corp.,
            464 F.3d 951 (9th Cir. 2006) .................................................................................... 11, 15
17
     Thompson v. Hous. Auth. of Los Angeles,
18         782 F.2d 829 (9th Cir.) ................................................................................................... 11
19   Uribe v. McKesson,
            No. 1:08-CV-01285-SMS PC,
20          2011 WL 3925077 (E.D. Cal. Sept. 7, 2011).................................................................. 13

21   Wyle v. R.J. Reynolds Indus., Inc.,
            709 F.2d 585 (9th Cir. 1983) .................................................................................... 11, 12
22

23

24

25

26

27

28

     PLAINTIFFS’ RENEWED MOT.
     FOR SANCTIONS                                             - ii -                               CASE NO. 3:21-cv-06536-EMC
             Case 3:21-cv-06536-EMC Document 599 Filed 08/31/23 Page 4 of 19



 1                              NOTICE OF MOTION AND MOTION

 2          TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 3          PLEASE TAKE NOTICE that on October 5, 2023, at 1:30 pm or as soon thereafter as

 4   counsel may be heard in the courtroom of the Honorable Edward M. Chen, Courtroom 5 on the

 5   17th floor of the San Francisco Courthouse located at 450 Golden Gate Avenue, San Francisco,

 6   CA 94102, Plaintiffs Moonbug Entertainment Ltd. and Treasure Studio, Inc. (“Moonbug”) will

 7   and hereby does renew its motion for sanctions, previously filed at Dkt. No. 382.

 8          This Motion rests on the Notice of Motion and Motion, the Memorandum of Points and

 9   Authorities, the Declaration of Ciara McHale and Exhibits thereto, other previously filed
10   documents in this action (including Moonbug’s previous Motion for Sanctions and supporting
11   declarations at Dkt. Nos. 382–384), the Court’s files, the trial record, the arguments of counsel,
12   and any other matter that the Court may properly consider.
13                                     ISSUES TO BE DECIDED
14          1.      Whether the Court should sanction Defendants under its inherent authority for

15   creating and manipulating an image in 2021 and repeatedly submitting it to the Court in sworn

16   statements to support Defendants’ independent development defense that falsely claimed that it

17   was from 2016 and was the basis for their JoJo character.

18

19

20

21

22

23

24

25

26

27

28

     PLAINTIFFS’ RENEWED MOT.
     FOR SANCTIONS                              -1-                        CASE NO. 3:21-cv-06536-EMC
             Case 3:21-cv-06536-EMC Document 599 Filed 08/31/23 Page 5 of 19



 1                      MEMORANDUM OF POINTS AND AUTHORITIES

 2          Moonbug renews its motion for sanctions based on Defendants’ creation and manipulation

 3   of an image of Defendants’ DouDou character in 2021 and false representations that this image

 4   was from 2016 and was the basis for Defendant’s JoJo character.              Defendants received

 5   Moonbug’s letter detailing its allegations of infringement in July 2021. Shortly after that,

 6   Defendants significantly altered an image of DouDou to give him new features that did not exist

 7   in 2016 and mapped to elements shared by CoComelon’s JJ character and Defendants’ JoJo

 8   character that Moonbug detailed in its letter. Defendants then repeatedly submitted this newly

 9   created image of DouDou to the Court in sworn declarations and verified discovery responses to
10   argue that the specific features Defendants added to the newly created DouDou image in 2021
11   should be filtered out when comparing similarities between JJ and Defendants’ JoJo character.
12   In doing so, Defendants made two key factual representations to the Court: that the doctored
13   image was from 2016 and that JoJo evolved from that image. As Defendants knew all along,
14   neither of these statements were true. Yet Defendants continued to submit the image and false
15   representations for nearly two years, only admitted that they created the image in 2021 in response
16   to Moonbug’s motion, and even then maintained that they did nothing wrong.
17          Defendants’ deceit has forced Moonbug and this Court to expend unnecessary resources
18   to investigate and, finally, uncover the truth. The Court denied Moonbug’s prior motion for
19   sanctions based on this misconduct without prejudice, holding that resolution of the motion

20   hinged upon the credibility of witnesses and factual evidence to be presented at trial. The Court

21   also warned Defendants that they had to show that the image of DouDou was “virtually identical”

22   to the depiction of DouDou in the Barber video. Trial is now over, and the jury has returned its

23   verdict for Moonbug, rejecting Defendants’ independent development story. And the evidence

24   at trial, taken with Defendants’ lack of credibility, was clear: the 2021 DouDou image is nowhere

25   near virtually identical to DouDou from the Barber video, and trial testimony only confirmed

26   Defendants’ fabrication. Defendants’ bad faith conduct in manufacturing evidence and falsifying

27   the date of that evidence in sworn declarations and discovery responses to bolster their defense

28   goes far beyond the range of permissible litigation conduct and warrants sanctions.

     PLAINTIFFS’ RENEWED MOT.
     FOR SANCTIONS                               -2-                        CASE NO. 3:21-cv-06536-EMC
             Case 3:21-cv-06536-EMC Document 599 Filed 08/31/23 Page 6 of 19



 1   I.     FACTUAL AND PROCEDURAL BACKGROUND

 2          A.      The Pre-Litigation Letter

 3          On July 20, 2021, before filing this case, Moonbug sent a detailed letter to Defendants

 4   alleging infringement of CoComelon and including specific comparisons between Moonbug’s

 5   copyrighted JJ character and Defendants’ infringing JoJo character. See Dkt. No. 383-2; see also

 6   McHale Decl., Ex. 1 (Trial Ex. 1308). This letter detailed extensive visual similarities between

 7   JJ and the infringing JoJo, including that both had similar large, rounded heads, tufts of hair above

 8   the foreheads, thin rounded eyebrows, large eyes, and two upper front teeth. See id. at 2. The

 9   next day, after receiving Moonbug’s letter, Super JoJo Planning Team Leader Xunjie Zhang sent
10   an internal chat message stating: “What we need to prove now is that BB did it on their own first
11   already and that JO was merely influenced by BB ~ Cocomelon was published later.” McHale
12   Decl., Ex. 2 (Trial Ex. 886); see Dkt. No. 383-7.
13          B.      Defendants Create the “2016 BabyBus’ DouDou” Image in 2021
14          In the few weeks after receiving Moonbug’s letter in 2021, Defendants then created
15   images of DouDou that they used to apply for a copyright in China. Trial Transcript (“TT”) Vol.
16   4 at 681:21–23. These images included the “2016 BabyBus’ DouDou” image at issue here:
17

18

19

20

21

22

23

24

25

26

27

28   Dkt. No. 24, App’x 1 (Decl. of Sam Stake in Support of Defs. Mot. for TRO) (caption in original).

     PLAINTIFFS’ RENEWED MOT.
     FOR SANCTIONS                               -3-                         CASE NO. 3:21-cv-06536-EMC
             Case 3:21-cv-06536-EMC Document 599 Filed 08/31/23 Page 7 of 19



 1          He Shaojie, the head of BabyBus’ business divisions for 2D productions, testified at

 2   deposition that he

 3                                   McHale Decl., Ex. 7 (“He Tr.”) at 33:25–34:16.

 4

 5

 6                                               He Tr. at 36:6–40:18, 42:21–43:10, 47:9–19, 49:1–

 7   13, 51:25–52:14. Mr. He stated that he

 8                                                                                           Id. at

 9   49:22–24, 50:2–8, 50:22–24, 51:1–3, 111:19–25. Mr. He also testified that
10                                                                                           Id. at
11   104:22–105:10. Defendants never produced Mr. He’s files.

12          C.      The “2016 BabyBus’ DouDou” Image Did Not Exist in 2016

13          The “2016 BabyBus’ DouDou” image did not exist in 2016 and did not come from the

14   2016 Barber video. Rather, Defendants created the “2016 BabyBus’ DouDou” image in 2021.

15   See TT Vol. 4 at 681:21–23. The “2016 BabyBus’ DouDou” image reflects modifications to the

16   teeth, mouth, and hair compared to any image of DouDou from the Barber video. Dkt. No. 385-

17   11 ¶ 11. Mr. Krause reviewed every asset in the Flash file for the Barber video and concluded

18   that it would not have been possible to generate the “2016 BabyBus’ DouDou” image from the

19   Barber video without both modifying elements and creating other elements from scratch. Id.

20          D.      Defendants Repeatedly Submit and Rely on the Fabricated “2016 BabyBus’
                    DouDou” Image
21

22          With the manufactured “2016 BabyBus’ DouDou” image in hand, Defendants then made

23   DouDou the centerpiece of their defense against Moonbug’s claims of copyright infringement,

24   claiming they independently developed JoJo based on that DouDou image, not Moonbug’s JJ.

25          First, Defendants registered the image with the Chinese copyright office. According to

26   the Chinese copyright registration submitted by Defendants, they registered a copyright titled

27   “Barber – DouDou (2D)” in China on August 12, 2021. Dkt. No. 23-1; Dkt. No. 383-14 (English

28   translation). That registration included the “2016 BabyBus’ DouDou” image and claimed that

     PLAINTIFFS’ RENEWED MOT.
     FOR SANCTIONS                            -4-                       CASE NO. 3:21-cv-06536-EMC
             Case 3:21-cv-06536-EMC Document 599 Filed 08/31/23 Page 8 of 19



 1   the work was completed in 2015 and first published in 2016. Id.

 2          At roughly the same time, Defendants first presented their DouDou independent

 3   development story in                                                             See Dkt. No.

 4   383-3. In that counter notification, Defendants asserted that

 5

 6                                  Dkt. No. 383-3.

 7          As summarized here and explained in more detail below, Defendants then heavily used

 8   and relied on the “2016 BabyBus’ DouDou” image throughout this litigation, which they

 9   repeatedly asserted was from 2016 and thus predated CoComelon’s JJ. Below is an overview of
10   Defendants submission of the “2016 BabyBus’ DouDou” image throughout this litigation:
11    Dkt. No.        Date                     Description                   “2016 BabyBus’
                                                                             DouDou” Image
12    20           9/28/2021      Answer and Counterclaims                Counterclaims ¶¶ 10, 14
      20-1         9/28/2021      Answer and Counterclaims, Ex. A         Page 2
13    22           9/28/2021      Motion for TRO                          Pages 3, 4
      23           9/28/2021      Yan Decl. ISO Motion for TRO            ¶¶ 4, 5
14    23-1         9/28/2021      Yan Decl. ISO Mot. for TRO, Ex. A       Page 2
      24           9/28/2021      Stake Decl. ISO Mot. for TRO            Appendix 1
15    36           11/9/2021      Am. Answer and Counterclaims            Counterclaims ¶¶ 12, 16
      43           12/8/2021      Opp. to Motion to Dismiss               Pages 3, 4
16    194-9        1/4/2023       Chen Decl. ISO Opp. to MSJ              ¶7
      194-15       1/4/2023       Yan Decl. ISO Opp. to MSJ               ¶3
17

18   Defendants also submitted the “2016 BabyBus’ DouDou” image in an interrogatory response to

19   Moonbug. McHale Decl., Ex. 5 (Defendants’ interrogatory response) at 7–8; see McHale Decl.,

20   Ex. 3 (Trial Ex. 991, which is excerpted version of this response with the “2016 BabyBus’

21   DouDou” image).

22          Defendants then asserted their independent development story in their Answer and

23   Counterclaims and Motion for a Temporary Restraining Order, filed on September 28, 2021,

24   where Defendants claimed that “[t]he origin of JoJo began in 2016” and that DouDou was “JoJo

25   Version 1.0.” Dkt. No. 20 (counterclaims) ¶ 10; Dkt. No. 22 (Mot. for TRO) at 3; see Dkt. No.

26   24, App’x 1; Dkt. No. 23 ¶ 4. Defendants explained that “2-D Doudou’s Evolution Into 3-D JoJo”

27   was a natural consequence of the market trend from 2D to 3D animation. Dkt. No. 22 at 4.

28   Defendants included the “2016 BabyBus’ DouDou” image in these filings. See Dkt. No. 20

     PLAINTIFFS’ RENEWED MOT.
     FOR SANCTIONS                             -5-                      CASE NO. 3:21-cv-06536-EMC
             Case 3:21-cv-06536-EMC Document 599 Filed 08/31/23 Page 9 of 19



 1   (counterclaims) ¶¶ 10, 14, Dkt. No. 20-1 at 2, Dkt. No. 22 at 3, 4; Dkt. No. 23 ¶¶ 4, 5; Dkt. No.

 2   23-1 at 3; Dkt. No. 24, App’x 1. A declaration from Defendants’ counsel, an attorney at Quinn

 3   Emanuel Urquhart & Sullivan LLP, attached the “2016 BabyBus’ DouDou” image, labeled it as

 4   “2016 BabyBus’ DouDou,” and asserted purported similar elements between that image of

 5   DouDou and the JJ and JoJo characters at issue in this case . See Dkt. No. 24, App’x 1.

 6          On November 9, 2021, in response to Moonbug’s anti-SLAPP motion, Defendants filed

 7   their Amended Answer and Counterclaims, which contained many of the same DouDou-related

 8   statements as the previous answer and again included the “2016 BabyBus’ DouDou” image. See

 9   Dkt. No. 36 (counterclaims) ¶¶ 12, 16.        Defendants added allegations to their amended
10   counterclaims, including describing that “the development of its JoJo character as it evolved from
11   the 2016 2D-model of DouDou into the later 3D-model of JoJo” and emphasizing that Moonbug’s
12   JJ character had a “creation date after Doudou’s publication.” Dkt. No. 36 (counterclaims) ¶¶ 25–
13   26 (emphasis in original). Defendants also added allegations that they “first created the DouDou
14   character in or around 2016, which was the basis for the 3-D Model that became JoJo in 2019” to
15   support their affirmative defenses of failure to mitigate damages and laches. Id. (affirmative
16   defenses) ¶¶ 2, 5.
17          On December 8, 2021, Defendants used again used the “2016 BabyBus’ DouDou” image
18   in opposition to Moonbug’s motion to dismiss their counterclaims. See Dkt. No. 43 at 3–5. There,
19   Defendants claimed that “BabyBus began developing its titular JoJo character before Moonbug

20   was even founded” and that “[t]he earliest version of JoJo dates to 2016,” followed by the “2016

21   BabyBus’ DouDou” image. Id. at 3 (emphasis in original).

22          On June 10, 2022, Defendants responded to Moonbug’s Interrogatory No. 10 by including

23   the “2016 BabyBus’ DouDou” image—with that exact caption—and stating that “the 3D-model

24   of JoJo evolved from BabyBus’ own 2D-model of a baby boy DouDou created in 2016—before

25   Moonbug’s works—which shares the same features Moonbug now claims to be ‘infringing.’”

26   McHale Decl., Ex. 5 at 7–8. The response was signed by Defendants’ attorney at Quinn Emanuel

27   Urquhart & Sullivan LLP, id. at 10, and verified under penalty of perjury by BabyBus co-founder

28   Naiyong Yan. McHale Decl., Ex. 6. In Mr. Yan’s verification, he stated that the response was

     PLAINTIFFS’ RENEWED MOT.
     FOR SANCTIONS                              -6-                        CASE NO. 3:21-cv-06536-EMC
             Case 3:21-cv-06536-EMC Document 599 Filed 08/31/23 Page 10 of 19



 1   based on his “diligent and reasonable effort to obtain information” and that he reserved the right

 2   to make changes or supplement the responses “if it appears at any time that errors or omissions

 3   have been made or if most accurate or complete information becomes available.” Id. Defendants

 4   never withdrew or corrected this interrogatory response.

 5           Defendants again submitted and relied on the “2016 BabyBus’ DouDou” image on

 6   January 4, 2023 to oppose Moonbug’s Motion for Summary Judgment. This time, Defendants

 7   submitted two sworn witness declarations in support of that opposition containing the 2016

 8   BabyBus’ DouDou” image. See Dkt. No. 194-9 (Chen Decl.) ¶ 7, Dkt. No. 194-15 (Yan Decl.)

 9   ¶ 3. Defendants again cited to these declarations and the “2016 BabyBus’ DouDou” image to
10   argue in their opposition that JoJo was “initially based on Doudou.” See Dkt. No. 194 at 5; see
11   also id. at 1–2, 14. Mr. Chen had previously testified at deposition that he used the “2016
12   BabyBus’ DouDou” image as the reference to finalize the design of Defendants’ Super JoJo
13   character. McHale Decl., Ex. 8 (May 12, 2023 Chen Tr.) at 19:15–17, 19:19–20; see Dkt. No.
14   194-9 ¶ 7. But we now know that image did not exist at that time, and was created years later in
15   2021.
16           E.     Defendants Forced Moonbug to Repeatedly Ask the Court to Intervene to
                    Get Discovery About DouDou
17

18           Throughout this case, Moonbug has sought discovery on Defendants’ DouDou character,
19   including the “2016 BabyBus’ DouDou” image that Defendants repeatedly relied on.

20           On June 7, 2022, the parties stipulated that Defendants would produce all development

21   documents, including drawings, for each accused Super JoJo video by June 30, 2022. Dkt. No.

22   103. When Defendants failed to do so, Judge Westmore issued an order finding that Defendants

23   violated the stipulation and that their overly narrow definition of development documents did “not

24   appear to be in good faith.” Dkt. 114 at 2. She imposed a September 28, 2022 deadline for

25   Defendants to produce all development documents, including all original and re-used drawings.

26   Id. Yet Defendants waited until the last hour of fact discovery and after all depositions had been

27   completed to produce any DouDou-related files. See Dkt. No. 142 at 2.

28           On October 27, 2022, Moonbug raised Defendants untimely production of images of its

     PLAINTIFFS’ RENEWED MOT.
     FOR SANCTIONS                              -7-                        CASE NO. 3:21-cv-06536-EMC
            Case 3:21-cv-06536-EMC Document 599 Filed 08/31/23 Page 11 of 19



 1   DouDou character in a joint discovery letter. See Dkt. No. 142. In her Order on this discovery

 2   letter, Judge Westmore explained that she tended “to disagree with Defendants regarding the

 3   sufficiency of the prior disclosure,” but that the decision to exclude the evidence would be more

 4   appropriately resolved by the presiding judge on a pretrial motion. Dkt. No. 144.

 5          On January 20, 2023, Moonbug submitted a request in a joint letter to the Court regarding

 6   Defendants’ late production of the DouDou documents. See Dkt. No. 211. On March 7, 2023,

 7   the Court ruled on Moonbug’s request in its order granting partial summary judgment for

 8   Moonbug and ordered Defendants to make relevant custodians available for depositions regarding

 9   DouDou videos and images at issue by March 31, 2023. Dkt. No. 242 at 4 n.3.
10          F.      Defendants Resist the Court-Ordered Custodial Depositions, Further
                    Forcing Moonbug to Expend Time and Resources to Secure Them
11

12          On March 7, 2023, the day that the Court ordered Defendants to make custodians of the
13   DouDou materials available, Moonbug requested that Defendants’ counsel provide missing
14   custodian metadata for Defendants’ late-produced DouDou images and videos in preparation for
15   the court-ordered custodial depositions. Dkt. No. 262 ¶ 3. The parties met and conferred by email
16   throughout March and by videoconference on March 16, 2023. Dkt. No. 262 ¶¶ 2–16; Dkt. Nos.
17   261-1 and 261-2. Defendants, however, refused to provide custodial information or make anyone
18   available for deposition by the Court-ordered deadline. Dkt. No. 262 ¶ 17.
19          On April 3, 2023, Moonbug filed an emergency motion regarding Defendants’ failure to

20   identify and produce custodians of the DouDou materials for deposition. See Dkt. No. 261. The

21   Court’s order on this motion held that “this process should not be dragged on; BabyBus has

22   already run afoul of the Court’s deadline of March 31, 2023” and ordered that Defendants must

23   disclose and produce custodians for all DouDou materials by April 13, 2023 or that such materials

24   would be excluded at trial. Dkt. No. 268.

25          G.      Moonbug’s Sanctions Motion and Motion in Limine No. 5

26          On May 23, 2023, Moonbug filed a motion in limine concerning use of DouDou to support

27   Defendants’ independent development story. Dkt. No. 350 (Mot. in Limine No. 5). On May 28,

28   2023, Defendants opposed Moonbug’s motion in limine. Dkt. No. 375. Defendants for the first

     PLAINTIFFS’ RENEWED MOT.
     FOR SANCTIONS                               -8-                      CASE NO. 3:21-cv-06536-EMC
            Case 3:21-cv-06536-EMC Document 599 Filed 08/31/23 Page 12 of 19



 1   time admitted that the “2016 BabyBus’ DouDou” image was created in 2021 in that opposition.

 2   Id. at 6. Yet Defendants did not explain why they modified the image or why they represented

 3   that it was from 2016. Defendants also argued that their submission of the altered image with a

 4   false date was not sanctionable because the image was “virtually indistinguishable from the

 5   images of Doudou in the Barber video.” Id. at 1. In the Court’s Order on Moonbug’s motion, it

 6   warned Defendants that they “must prove that the Doudou in the still image in the declaration is

 7   virtually identical to the Doudou in the original video.” Dkt. No. 413 at 15.

 8          On June 2, 2023, Moonbug moved for sanctions against Defendants. Dkt. No. 383. The

 9   Court denied Moonbug’s Motion for Sanctions without prejudice, reserving judgment until the
10   conclusion of the trial because the issue hinged “upon the credibility of witnesses and factual
11   evidence to be presented at trial.” Dkt. No. 394.
12          H.      Testimony and Evidence at Trial Confirms that Defendants Created “2016
                    BabyBus’ DouDou” Image in 2021
13

14          The evidence at trial was clear: Defendants manufactured the “2016 BabyBus’ DouDou
15   Image” in 2021, after receiving notice of Moonbug’s copyright infringement claim. At trial, Mr.
16   Yan testified that “JoJo did not evolve directly from DouDou.” TT Vol. 4 at 674:20–24. This
17   testimony came after Mr. Yan was shown Defendants’ interrogatory response that he verified that
18   falsely stated the opposite: that JoJo did evolve from DouDou. The sworn response also
19   embedded the “2016 BabyBus’ DouDou Image” and claimed that the image was created before

20   Moonbug’s works in 2016 and shared the same features Moonbug claims to be infringing:

21

22

23

24

25

26

27

28   McHale Decl., Ex. 3 (Trial Ex. 991); see id., Ex. 5 at 8; TT Vol. 4 at 672:6–16, 673:7–13. When

     PLAINTIFFS’ RENEWED MOT.
     FOR SANCTIONS                              -9-                        CASE NO. 3:21-cv-06536-EMC
            Case 3:21-cv-06536-EMC Document 599 Filed 08/31/23 Page 13 of 19



 1   asked whether the “2016 BabyBus’ DouDou” image existed prior to 2021, Mr. Yan answered that

 2   the “character existed already in 2016” and that Defendants “possibly” created the image in 2021.

 3   TT Vol. 4 at 675:4–11. When pressed again, Mr. Yan stated that “[t]he character of DouDou

 4   already existed in 2015 and 2016, and this image was simply there to indicate the DouDou

 5   character. I’m not really sure what you’re trying to ask.” Id. at 675:15–21. The Court intervened

 6   and instructed Mr. Yan to state whether the specific image was created in 2021, after which Mr.

 7   Yan testified that the “particular image, perhaps, was prepared in 2021.” Id. at 675:22–676:4.

 8   Mr. Yan ultimately testified that the “2016 BabyBus’ DouDou” image was created after

 9   Defendants received Moonbug’s letter in July 2021. Id. at 681:21–23.
10          Mr. Chen, the leader of Defendants’ 3D drawing department, also testified about DouDou
11   at trial. At first, Mr. Chen testified that the “2016 BabyBus’ DouDou” image was the same as an
12   image of DouDou from the Barber video. TT Vol. 8 at 1353:1–6. However, Mr. Chen later
13   admitted that he had no idea where the “2016 BabyBus’ DouDou” image came from. Id. at
14   1355:6–9. He later confirmed that the “2016 BabyBus’ DouDou” image and the image of
15   DouDou from the Barber video “look different” after the Court instructed Mr. Chen to “answer
16   the question ‘yes’ or ‘no’ rather than an explanation.” Id. at 1356:16–21. Further, Mr. Chen
17   testified that Defendants did not use the version of JoJo that he allegedly created based on
18   DouDou, as seen in one of Defendants’ development documents showing Mr. Chen’s model
19   crossed out and replaced by a model of JoJo created by a different team:

20

21

22

23

24

25

26

27

28   See id. at 1376:24–1377:8; McHale Decl., Ex. 4 (Trial Ex. 979).

     PLAINTIFFS’ RENEWED MOT.
     FOR SANCTIONS                             - 10 -                     CASE NO. 3:21-cv-06536-EMC
            Case 3:21-cv-06536-EMC Document 599 Filed 08/31/23 Page 14 of 19



 1          Mr. Krause also testified at trial about the fabricated “2016 BabyBus’ DouDou” image.

 2   Mr. Krause explained that he reviewed the original animation files for the Barber video Flash file,

 3   which consisted of around 1,800 elements. TT Vol. 5 at 833:9–834:12. Mr. Krause compared

 4   all of these elements of the Barber video with the “2016 BabyBus’ DouDou” image “several

 5   times” and did not find any image of DouDou in the Barber video that had the same characteristics

 6   as the “2016 BabyBus’ DouDou” image. Id. at 839:8–15. It was Mr. Krause’s opinion as an

 7   animator that the only way for Defendants to have created the “2016 BabyBus’ DouDou” image

 8   from the Barber video would have been to “rescale the head wider, redraw the mouth, redraw the

 9   teeth, and rearrange the features on the face.” Id. at 833:9–834:12. Defendants made no effort to
10   rebut Mr. Krause’s testimony.
11   II.    ARGUMENT
12          A.      The Court Should Grant Terminating Sanctions

13          Moonbug requests that the Court grant terminating sanctions against Defendants as an

14   alternative ground to uphold the jury verdict for Moonbug. Defendants’ willful fraud on the Court

15   and disregard for the integrity of the judicial system warrants terminating sanctions. The Court

16   can issue terminating sanctions under its “inherent power to control [its] docket . . .”, including

17   the power to “dismiss an action when a party has willfully deceived the court and engaged in

18   conduct utterly inconsistent with the orderly administration of justice.” Thompson v. Hous. Auth.

19   of Los Angeles, 782 F.2d 829, 831 (9th Cir.), cert. denied 479 U.S. 829 (1986); Wyle v. R.J.

20   Reynolds Indus., Inc., 709 F.2d 585, 589 (9th Cir. 1983) (citations omitted). “[W]illfulness, fault

21   or bad faith” is required to issue terminating sanctions. Leon v. IDX Sys. Corp., 464 F.3d 951,

22   958 (9th Cir. 2006) (citing Anheuser–Busch, Inc. v. Natural Beverage Distribs., 69 F.3d 337, 348

23   (9th Cir. 1995)).

24          In deciding whether to impose terminating sanctions, the court considers the following

25   factors: “(1) the public’s interest in expeditious resolution of litigation; (2) the court’s need to

26   manage its dockets; (3) the risk of prejudice to the party seeking sanctions; (4) the public policy

27   favoring disposition of cases on their merits; and (5) the availability of less drastic sanctions.”

28   See Leon, 464 F.3d at 958 (citing Anheuser–Busch, 69 F.3d at 348).             This “‘test’ is not

     PLAINTIFFS’ RENEWED MOT.
     FOR SANCTIONS                              - 11 -                      CASE NO. 3:21-cv-06536-EMC
            Case 3:21-cv-06536-EMC Document 599 Filed 08/31/23 Page 15 of 19



 1   mechanical” but rather presents a framework for the judge on how to evaluate a request for

 2   terminating sanctions, not a list of conditions precedent to issue such a sanction. See Connecticut

 3   Gen. Life Ins. Co. v. New Images of Beverly Hills, 482 F.3d 1091, 1096 (9th Cir. 2007) . To

 4   satisfy due process there must be a “relationship between the sanctioned party’s misconduct and

 5   the matters in controversy such that the transgression ‘threaten[s] to interfere with the rightful

 6   decision of the case.’” Lee v. Trees, Inc., No. 3:15-CV-0165-AC, 2017 WL 5147146, at *4 (D.

 7   Or. Nov. 6, 2017) (citing Wyle, 709 F. 2d at 591). As discussed in Moonbug’s original motion

 8   for sanctions, Dkt. No. 382, and summarized below, this is such a case.

 9                  i.      Defendants Acted in Bad Faith in Altering the “2016 BabyBus’ Doudou”
                            Image in 2021 and Repeatedly Submitting It Under Oath with a False
10                          2016 Date

11          After nearly two years of repeatedly submitting the “2016 BabyBus’ Doudou” image to

12   the Court and stating under oath that it was from 2016, Defendants admit that they created the

13   image 2021. See Dkt. No. 375 (“The embedded picture and the image of Doudou in the copyright

14   were the same and both were from 2021.”); TT Vol. 4 at 681:21–23. The only way for Defendants

15   to have created this image was to intentionally manipulate it. See Dkt. No. 384 ¶¶ 7, 11 (the

16   image “appears to have been constructed by re-combining, editing, and modifying various visual

17   elements used in the Barber video”); TT Vol. 5 at 833:9–834:12 (Defendants would have had to

18   “rescale the head wider, redraw the mouth, redraw the teeth, and rearrange the features on the

19   face”). Defendants have never explained why they significantly modified DouDou’s appearance

20   when they created the “2016 BabyBus’ Doudou” image in 2021 or why they claimed repeatedly

21   the image was from 2016. The submission of fabricated evidence and falsehoods about that

22   evidence warrants terminating sanctions. See, e.g., Connecticut Gen., 482 F.3d at 1094 (affirming

23   terminating sanctions because defendant “knowingly deceived the court and acted in bad faith”

24   by submitting “perjured declarations, fabricated evidence and frivolous pleadings.”); Combs v.

25   Rockwell Int’l Corp., 927 F.2d 486, 488 (9th Cir. 1991) (affirming dismissal based on finding of

26   bad faith where plaintiff “attempted to deceive the district court” by changing deposition evidence

27   going to material “issues of central importance in the upcoming summary judgment hearing.”);

28   Uribe v. McKesson, No. 1:08-CV-01285-SMS PC, 2011 WL 3925077, at *5 (E.D. Cal. Sept. 7,

     PLAINTIFFS’ RENEWED MOT.
     FOR SANCTIONS                              - 12 -                      CASE NO. 3:21-cv-06536-EMC
            Case 3:21-cv-06536-EMC Document 599 Filed 08/31/23 Page 16 of 19



 1   2011) (granting terminating sanctions based on one false declaration).

 2          Defendants have suggested their submission of the “2016 BabyBus’ Doudou” image is

 3   defensible because it is “virtually indistinguishable from the images of Doudou in the Barber

 4   video” and that it depicts the same DouDou character. See Dkt. No. 375 at 1; TT Vol. 4 at 675:15–

 5   21. The Court should reject this excuse. First, despite the Court’s warning that Defendants “must

 6   prove that the Doudou in the still image in the declaration is virtually identical to the Doudou in

 7   the original video” at trial, Dkt. No. 413 at 15, Defendants made no attempt to do so. Second,

 8   Moonbug presented ample evidence at trial and in its original sanctions motion showing that the

 9   differences between the “2016 BabyBus’ DouDou” image and DouDou from the Barber video
10   are significant. Defendants rescaled the head, used a different shape for the mouth, drew a line
11   to create two distinct upper-front teeth, used thinner eyebrows, and rearranged the features on the
12   face. See Dkt. No. 384 ¶ 7; TT Vol. 5 at 833:9–834:12; see also TT Vol. 8 at 1356:16–21 (leader
13   of Defendants’ 3D drawing department admits that the images “look different”); Dkt. No. 375 at
14   7 (Defendants admit that DouDou’s “two front teeth had no line”). Defendants did not just make
15   minor or random alterations to the image—Defendants manipulated the DouDou image to map
16   expressive elements to those that were central to this case and identified as similarities between
17   JJ and JoJo in Moonbug’s prelitigation letter. Dkt. No. 383-2 (Moonbug’s prelitigation letter
18   comparing physical features of JJ and JoJo that Defendants then altered in the DouDou image).
19   Defendants clearly believed those elements were significant when they compared them to JJ and

20   JoJo to support their independent development story. See, e.g., McHale Decl., Ex. 5 at 7–8

21   (Defendants asserting that the DouDou image was from 2016, pointing to the head and smile of

22   the altered DouDou image, and stating that DouDou “shares the same features Moonbug now

23   claims to be ‘infringing.’”). And Defendants used this image to seek substantial and material

24   relief, including using it to (1) apply for a restraining order that would have stripped Moonbug of

25   its rights to submit DMCA notices (Dkt. No. 22), (2) support their SLAPP counterclaims for

26   copyright misrepresentation (Dkt. No. 20 (counterclaims) ¶¶ 10–14, Dkt. No. 20-1), and (3) assert

27   an independent development theory in opposing Moonbug’s Motion for Summary Judgment

28   (Dkt. No. 194). That Defendants failed in their attempts to use the image does not excuse their

     PLAINTIFFS’ RENEWED MOT.
     FOR SANCTIONS                              - 13 -                      CASE NO. 3:21-cv-06536-EMC
            Case 3:21-cv-06536-EMC Document 599 Filed 08/31/23 Page 17 of 19



 1   repeated deception. Third, Defendants have provided no authority holding that submission of

 2   altered evidence and making false claims about the date of that evidence is excused if the evidence

 3   is close enough to accurate. The Court should reject such a rule, which would encourage litigants

 4   to sneak in fabricated evidence knowing that they can avoid repercussions by arguing that their

 5   alterations were minor.

 6          Defendants’ bad faith is also evidenced by the lack of any affirmative steps to remediate

 7   their conduct, even after it was uncovered. To this day Defendants have not withdrawn their false

 8   statements claiming that the “2016 BabyBus’ Doudou” image was created in 2016 rather than in

 9   2021. See Am. Rena Int’l Corp. v. Sis-Joyce Int’l Co., No. CV126972FMOJEMX, 2015 WL
10   12732433, at *8 (C.D. Cal. Dec. 14, 2015) (granting terminating sanctions based on submission
11   of false evidence and noting that defendants “have never formally withdrawn the declarations”).
12   Nor did Defendants ever withdraw this contention in its discovery responses. What little
13   Defendants did do—admit that the image was from 2021—was only done after Moonbug caught
14   them, and even then Defendants only offered excuses rather than formally withdrawing the
15   previous false statements. See Dkt. No. 375.
16          Defendants’ bad faith is also confirmed by testimony at trial. Mr. Yan repeatedly dodged
17   questioning about the “2016 BabyBus’ Doudou” image until the Court intervened, and then only
18   offered the justification that the character of DouDou existed in 2016. See TT Vol. 4 at 675:4–
19   676:4. That the DouDou character existed in 2016 does not excuse fabricating evidence to alter

20   the appearance of DouDou and falsely claiming that the image was from 2016. Moonbug would

21   not bring this this motion had Defendants simply used an authentic and accurate image of DouDou

22   from the 2016 Barber video. Defendants did not address the significant differences between the

23   “2016 BabyBus’ Doudou” image and DouDou as he existed in 2016, much less offer any

24   alternative explanation for why they altered the image in the ways they did other than to map to

25   the claims made in this litigation.

26          As explained in Moonbug’s original motion for sanctions, all the relevant factors support

27   terminating sanctions. See Dkt. No. 382 at 19–23. Defendants’ deception required investigation,

28   extensive discovery and pretrial motion practice, six additional post-fact discovery custodial

     PLAINTIFFS’ RENEWED MOT.
     FOR SANCTIONS                              - 14 -                      CASE NO. 3:21-cv-06536-EMC
            Case 3:21-cv-06536-EMC Document 599 Filed 08/31/23 Page 18 of 19



 1   depositions, and time at trial. Moonbug therefore requests that the Court grant terminating

 2   sanctions.

 3          B.      The Court Should Also Grant Monetary Sanctions

 4          Additionally, Moonbug requests monetary sanctions. First, Moonbug requests attorneys’

 5   fees and costs attributable to the misconduct. See Leon, 464 F.3d at 961 (affirming attorneys’

 6   fees and costs as sanction). Second, Moonbug requests Mr. Krause’s expert fees attributable to

 7   Defendants’ misconduct. Keithley v. Homestore.com, Inc., No. C-03-04447 SI EDL, 2009 WL

 8   816429, at *2 (N.D. Cal. Mar. 27, 2009) (awarding technical expert fees as sanction). Third,

 9   Moonbug seeks a finding that Defendants’ counsel is jointly and severally liable for any award
10   of monetary sanctions. See In re USA Com. Mortg. Co., 462 F. App’x 677, 680 (9th Cir. 2011)
11   (affirming sanctions against counsel under Court’s inherent authority and holding that no
12   evidentiary hearing was required). Defendants’ counsel submitted the “2016 BabyBus’ Doudou”
13   image with a representation that it was from 2016 in a declaration signed and an interrogatory
14   response signed by counsel. See Dkt. No. 24, App’x 1; McHale Decl., Ex. 5 at 7–8, 10. By
15   signing the interrogatory response, Defendants’ counsel represented that it was complete and
16   correct based on knowledge, information, and belief formed after a reasonable inquiry. Fed. R.
17   Civ. P. 26(g)(1). However, a reasonably inquiry would have revealed that the image was not in
18   the Barber video or from 2016, and that Defendants never even used the design of JoJo that was
19   allegedly based on DouDou. See TT Vol. 8 at 1375:3–1377:8; McHale Decl., Ex. 4 (Trial Ex.

20   979). Further, counsel did not withdraw the declaration, amend the discovery response, or

21   otherwise take appropriate remedial action, even after learning that the “2016 BabyBus’ Doudou”

22   image was created in 2021 and did not accurately reflect multiple elements of the character relied

23   on by Defendants. See California Rule of Professional Conduct 3.3 (“If a lawyer, the lawyer’s

24   client, or a witness called by the lawyer, has offered material evidence, and the lawyer comes to

25   know of its falsity, the lawyer shall take reasonable remedial measures . . . .”); Fed. R. Civ. P.

26   26(e)(1)(A) (duty to correct interrogatory response upon learning that it is incorrect).

27          Moonbug intends to request the specific amounts for these monetary sanctions in its

28   forthcoming motion for attorneys’ fees and costs to be filed after the Court issues judgment.

     PLAINTIFFS’ RENEWED MOT.
     FOR SANCTIONS                              - 15 -                       CASE NO. 3:21-cv-06536-EMC
            Case 3:21-cv-06536-EMC Document 599 Filed 08/31/23 Page 19 of 19



 1   III.   CONCLUSION

 2          Defendants’ bad faith misconduct in manufacturing and relying on an image from 2021

 3   while representing to the Court that it was from 2016 and was used to create the JoJo character is

 4   inexcusable. Moonbug therefore renews its request for sanctions and requests that the Court grant

 5   terminating sanctions and monetary sanctions in an amount to be determined in Moonbug’s

 6   forthcoming motion for attorneys’ fees and costs.

 7

 8   Dated: August 31, 2023                              Respectfully submitted,

 9                                                       /s/ Ciara McHale
                                                         Ciara McHale
10
                                                         Attorneys for Plaintiffs
11                                                       Moonbug Entertainment Limited and
                                                         Treasure Studio, Inc.
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

     PLAINTIFFS’ RENEWED MOT.
     FOR SANCTIONS                             - 16 -                       CASE NO. 3:21-cv-06536-EMC
